24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 1 of 9




                                     Exhibit A

                          DIP Commitment Letter and Budget
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 2 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 3 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 4 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 5 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 6 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 7 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 8 of 9
24-11463-pb   Doc 71-1     Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit A DIP
                         Loan Commitment Letter Pg 9 of 9
